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U.S. Department of Justice

Andrew E, Lelling
United States Attorney
District of Massachusetts

 

 

Main Reception: (617) 748-3100 John Joseph Moakley United States Courthouse
1 Courthouse Way
Suite 9200
Boston, Massachusetts 02210
July 24, 2018
Martin G. Weinberg, Esq.
20 Park Plaza
Boston, MA 02116

Re: United States v. Richard Poillucci
Dear Mr. Weinberg:

The United States Attorney for the District of Massachusetts (“the U.S. Attomey”) and your
client, Richard Poillucci (“Defendant”), agree as follows with respect to the above-referenced case:

1. Change of Plea

At the earliest practicable date, Defendant shall waive indictment and plead guilty to an
Information substantially in the form attached to this Plea Agreement charging him with three
counts of aiding and assisting in filing a false tax return, in violation of 26 U.S.C. §7206(2).
Defendant expressly and unequivocally admits that he committed the crimes charged in Counts
One through Three of the Information, did so willfully, and is in fact guilty of those offenses.
Defendant also agrees to waive venue, to waive any applicable statute of limitations, and to waive
any legal or procedural defects in the Information. Defendant agrees to the accuracy of the
Information.

2. Penalties

Defendant faces the following maximum penalties on each count of aiding and assisting in
filing a false tax return, in violation of 26 U.S.C. §7206(2), charged in the Information: ,
incarceration for three years, supervised release for one year; a fine of $250,000, or twice the gross
gain or loss, whichever is greater; a mandatory special assessment of $100 per count, and
restitution.

Defendant also recognizes that pleading guilty may have consequences with respect to
Defendant’s immigration status if Defendant is not a citizen of the United States. Under federal
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law, a broad range of crimes are removable offenses, including the offenses to which Defendant is
pleading guilty. Removal and other immigration consequences are the subject of a separate
proceeding, however, and Defendant understands that no one, including defense counsel and the
District Court, can predict to a certainty the effect of this conviction on Defendant’s immigration
status. Defendant nevertheless affirms his decision to plead guilty regardless of any immigration
consequences that this plea may entail, even if the consequence is Defendant’s automatic removal
_ from the United States.

3. Sentencing Guidelines

The sentence to be imposed upon Defendant is within the discretion of the District Court
(“Court”), subject to the statutory maximum penalties set forth above and the provisions of the
Sentencing Reform Act, and the advisory United States Sentencing Guidelines (“USSG” or
“Guidelines”). While the Court may impose a sentence up to and including the statutory maximum
term of imprisonment and statutory maximum fine, it must consult and take into account the USSG
and the other factors set forth in 18 U.S.C. §3553(a) in imposing a sentence.

The parties agree that Defendant’s total offense level under the USSG (prior to any
adjustment for acceptance of responsibility) is calculated as follows:

e in accordance with USSG §2T1.4(a)(1), and §2T4.1(F), Defendant’s base offense
level is 16, because the tax loss caused by his offenses, including all relevant
conduct, is more than $100,000 but not more than $250,000.

The Defendant agrees that there is no basis for a departure from the USSG, except that
Defendant reserves the right to seek a departure based upon his medical conditions. Accordingly,
the Defendant will not seek a departure from the USSG, except for the grounds stated in the
preceding sentence. The parties otherwise have no agreement as to the application of the USSG
and reserve all rights with respect to how the USSG apply to Defendant.

If Defendant contends that there is a basis for departure from, or a sentence outside, the
otherwise applicable Guidelines sentencing range based on Defendant’s medical, mental, and/or
emotional condition, or otherwise intends to rely on any such condition at sentencing, Defendant
will, forthwith upon request, execute all releases and other documentation necessary to permit the
U.S. Attorney and his experts (including Bureau of Prisons medical personnel) to obtain access to
Defendant’s medical, psychiatric, and psychotherapeutic records and will also provide to the U.S.
Attorney forthwith copies of any such records already in Defendant’s possession. In addition,
Defendant will authorize Defendant’s care providers to discuss Defendant’s condition with the
U.S. Attorney and his agents (including Bureau of Prisons medical personnel), as well as experts
retained by the U.S. Attorney. Defendant also agrees to submit to examinations and interviews
with experts retained by and chosen by the U.S. Attomey (including Bureau of Prisons medical
personnel).

The U.S. Attorney reserves the right to oppose Defendant’s arguments for a departure from,
or a sentence outside, the USSG under the factors set forth in 18 U.S.C. §3553(a).

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Based on Defendant’s prompt acceptance of personal responsibility for the offenses of
conviction in this case, and information known to the U.S. Attorney at this time, the U.S. Attomey
agrees to recommend that the Court reduce by three levels Defendant’s adjusted offense level
under USSG §3E1.1.

The U.S. Attorney reserves the right not to recommend a reduction under USSG §3E1.1 if,
at any time between Defendant’s execution of this Plea Agreement and sentencing, Defendant:

a) Fails to admit a complete factual basis for the plea;
b) Fails to truthfully admit Defendant’s conduct in the offenses of conviction;

c) Falsely denies, or frivolously contests, relevant conduct for which Defendant is
accountable under USSG §1B1.3;

d) Fails to provide truthful information about Defendant’s financial status;
e) Gives false or misleading testimony in any proceeding relating to the criminal
conduct charged in this case and any relevant conduct for which Defendant is

accountable under USSG §1B1.3;

f) Engages in acts that form a basis for finding that Defendant has obstructed or
impeded the administration of justice under USSG §3C1.1;

g) Intentionally fails to appear in Court or violates any condition of release;

h) Commits a crime;

i) Transfers any asset protected under any provision of this Plea Agreement; or
j) Attempts to withdraw Defendant’s guilty plea.

Defendant understands and acknowledges that Defendant may not withdraw his plea of
guilty if, for any of the reasons listed above, the U.S. Attorney does not recommend that Defendant
receive a reduction in offense level for acceptance of responsibility. Defendant also understands
and acknowledges that, in addition to declining to recommend an acceptance-of-responsibility
adjustment, the U.S. Attorney may seek an upward adjustment pursuant to USSG §3C1.1 if

Defendant obstructs justice after the date of this Plea Agreement.

Nothing in this Plea Agreement affects the U.S. Attorney’s obligation to provide the Court
and the U.S. Probation Office with accurate and complete information regarding this case.
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4. Sentence Recommendation

The U.S. Attorney agrees to recommend the following sentence before the Court:

a)

a)

b)

d)

incarceration at the low end of the Guidelines sentencing range as calculated by
the U.S. Attomey in Paragraph 3;

a fine within the Guidelines sentencing range as calculated by the Court at
sentencing, excluding departures, unless the Court finds that Defendant is not
able and, even with the use of a reasonable installment schedule, is not likely to
become able to pay a fine;

12 months of supervised release;
a mandatory special assessment of $300, which Defendant must pay to the Clerk
of the Court on or before the date of sentencing (unless Defendant establishes

to the Court’s satisfaction that Defendant is unable to do so);

restitution of $215,552 to the Internal Revenue Service.

Defendant agrees to provide the U.S. Attorney expert reports, motions, memoranda of law
and documentation of any kind on which Defendant intends to rely at sentencing not later than 14
days before sentencing. Any basis for sentencing as to which Defendant has not provided the U.S.
Attomey all such items at least 14 days before sentencing shall be deemed waived.

The parties agree jointly to recommend that the Court order restitution to the Internal
Revenue Service (“IRS”) in an amount of $215,552.

The parties agree jointly to recommend the following special condition of any term of
supervised release or probation:

During the period of supervised release or probation, Defendant must, within six months
of sentencing or release from custody, whichever is later:

a)
b)

c)

d)

cooperate with the Examination and Collection Divisions of the IRS;

provide to the Examination Division all financial information necessary to
determine Defendant’s prior tax liabilities;

provide to the Collection Division all financial information necessary to
determine Defendant’s ability to pay;

file accurate and complete tax returns for those years for which returns were not
filed or for which inaccurate returns were filed; and
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e) makea good faith effort to pay all delinquent and additional taxes, interest, and
penalties.

5. Protection of Assets for Payment of Restitution and Fine.

Defendant agrees not to transfer, or authorize the transfer of any asset in which Defendant
has an interest without prior express written consent of the U.S. Attorney, except for:

a) Assets subject to superior, secured interests of innocent third parties, in which
Defendant has an equity interest of less than $10,000;

b) Ordinary living expenses necessary to house, clothe, transport, and feed
Defendant and those to whom Defendant owes a legal duty of support, so long
as such assets do not exceed $10,000 per month; and

c) Attorney’s fees incurred in connection with this criminal case.

This prohibition shall be effective as of the date of Defendant’s execution of this Plea
Agreement and continue until the fine and restitution ordered by the Court at sentencing is satisfied
in full.

If the U.S. Attomey requests, Defendant further agrees to complete truthfully and
accurately a sworn financial statement and to deliver that statement to the U.S. Attorney within 30
days of signing this Plea Agreement.

6. Waiver of Rights to Appeal and to Bring Future Challenge

a) Defendant has conferred with his attorney and understands that he has the right
to challenge both his conviction and his sentence (including any orders relating
to the terms and conditions of supervised release, fines and restitution) on
direct appeal. Defendant also understands that, in some circumstances,
Defendant may be able to argue in a future proceeding (collateral or
otherwise), such as pursuant to a motion under 28 U.S.C. §2255, 28 U.S.C.
§2241, or 18 U.S.C. §3582(c), that Defendant’s conviction should be set aside
or Defendant’s sentence (including any orders relating to the terms and
conditions of supervised release, fines and restitution) set aside or reduced.

b) Defendant waives any right to challenge Defendant’s conviction on direct
appeal or in a future proceeding (collateral or otherwise). Defendant agrees not
to file a direct appeal or challenge in a future proceeding (collateral or
otherwise) any sentence of imprisonment of 18 months or less or any orders
relating to the terms and conditions of supervised release, fines and restitution.
This provision is binding even if the Court’s Guidelines analysis is different
from that set forth in this Plea Agreement.
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c) The U.S. Attorney likewise agrees that, regardless of the analysis employed by
the Court, the U.S. Attorney will not appeal any imprisonment sentence of 12
months or more.

d) Regardless of the previous sub-paragraphs, Defendant reserves the right to
claim that: (1) Defendant’s lawyer rendered ineffective assistance of counsel
under Strickland v. Washington, or (ii) the prosecutor in this case engaged in
misconduct that entitles Defendant to relief from Defendant’s conviction or
sentence.

7. Other Post-Sentence Events

a) If, despite the waiver provision of sub-paragraph 6(c), Defendant appeals or
challenges in a future proceeding (collateral or otherwise) Defendant’s
sentence, the U.S. Attorney reserves the right to argue the correctness of the
sentence imposed by the Court (in addition to arguing that any appeal or future
challenge (collateral or otherwise) is waived as a result of the waiver in sub-

paragraph 6(c)).

b) If, despite the waiver provision of sub-paragraph 6(c),Defendant seeks re-
sentencing, Defendant agrees not to seek to be re-sentenced with the benefit of
any change to the Criminal History Category that the Court calculated at the
time of Defendant’s original sentencing, except to the extent that Defendant has -
been found actually factually innocent of a prior crime.

c) In the event of a re-sentencing following an appeal from or future challenge
(collateral or otherwise) to Defendant’s sentence, the U.S. Attorney reserves the
right to seek a departure from and a sentence outside the USSG if, and to the
extent, necessary to reinstate the sentence the U.S. Attorney advocated at
Defendant’s initial sentencing pursuant to this Plea Agreement.

3. Court Not Bound by Plea Agreement

The parties’ sentencing recommendations and their respective calculations under the USSG
are not binding upon the U.S. Probation Office or the Court. Within the maximum sentence
Defendant faces under the applicable law, the sentence to be imposed is within the sole discretion
of the Court. Defendant’s plea will be tendered pursuant to Fed. R. Crim. P. 11(c)(i)(B).
Defendant may not withdraw his plea of guilty regardless of what sentence is imposed, or because
the U.S. Probation Office or the Court declines to follow the parties’ USSG calculations or
recommendations. Should the Court decline to follow the U.S. Attomey’s USSG calculations or
recommendations, the U.S. Attorney reserves the right to defend the Court’s calculations and
sentence in any direct appeal or future challenge (collateral or otherwise).
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9. Information for Presentence Report

Defendant agrees to provide all information requested by the U.S. Probation Office
concerning Defendant’s assets.

10. Civil Liability

By entering into this Plea Agreement, the U.S. Attorney does not compromise any civil
liability, including but not limited to any tax liability, Defendant may have incurred or may incur
as a result of Defendant’s conduct and plea of guilty to the charges specified in Paragraph 1 of this
Plea Agreement. Defendant agrees to cooperate with employees of the IRS, the Civil Division of
the U.S. Attorney’s Office, and law enforcement agents working with attorneys in the Civil
Division of the U.S. Attorney’s Office, in making an assessment of his civil liabilities. Defendant
specifically authorizes release by the IRS or other investigative agency to the aforementioned
agencies and their representatives of information for purposes of making that assessment.
Defendant further agrees to assent to the filing and allowance of a motion under Rule 6(e) of the
Federal Rules of Criminal Procedure, to permit the disclosure of matters occurring before the grand
jury for this purpose.

11. Rejection of Plea by Court

Should Defendant’s guilty plea not be accepted by the Court for whatever reason, or later
be withdrawn on Defendant’s motion, this Plea Agreement shall be null and void at the option of
the U.S. Attorney.

12. Breach of Plea Agreement

If the U.S. Attorney determines that Defendant has failed to comply with any provision of
this Plea Agreement, has violated any condition of Defendant’s pretrial release, or has committed
any crime following Defendant’s execution of this Plea Agreement, the U.S. Attorney may, at his
sole option, be released from his commitments under this Plea Agreement in their entirety by
notifying Defendant, through counsel or otherwise, in writing. The U.S. Attomey may also pursue
all remedies available to him under the law, regardless whether he elects to be released from his
commitments under this Plea Agreement. Further, the U.S. Attorney may pursue any and ail
charges that have been, or are to be, dismissed pursuant to this Plea Agreement. Defendant
recognizes that his/her breach of any obligation under this Plea Agreement shall not give rise to
grounds for withdrawal of Defendant’s guilty plea, but will give the U.S. Attorney the right to use
against Defendant before any grand jury, at any trial or hearing, or for sentencing purposes, any
' statements made by Defendant and any information, materials, documents or objects provided by
Defendant to the government, without any limitation, regardless of any prior agreements or
understandings, written or oral, to the contrary. In this regard, Defendant hereby waives any
defense to any charges that Defendant might otherwise have based upon any statute of limitations,
the constitutional protection against pre-indictment delay, or the Speedy Trial Act.
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13. Whois Bound by Plea Agreement

This Plea Agreement is limited to the U.S. Attorney for the District of Massachusetts, and
cannot and does not bind the Attomey General of the United States or any other federal, state or
local prosecutive authorities.

14. Modifications to Plea Agreement

This Plea Agreement can be modified or supplemented only in a written memorandum
signed by the parties or on the record in court.

If this letter accurately reflects the agreement between the U.S. Attomey and Defendant,
please have Defendant sign the Acknowledgment of Plea Agreement below. Please also sign
below as Witness. Return the original of this letter to Assistant U.S. Attomey Sara Miron Bloom.

Very truly yours,

ANDREW E. LELLING

 

 

Chief, Economic Crimes Unit
JORDI DELLANO

Deputy Chref, Economic Crimes Unit
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LMM A Lz,
SARA MIRON BLOOM’ “——__.
Assistant U.S. Attoméy

 
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ACKNOWLEDGMENT OF PLEA AGREEMENT

 

I have read this letter in its entirety and discussed it with my attorney. I hereby
acknowledge that (a) it accurately sets forth my plea agreement with the United States Attommey’s
Office for the District of Massachusetts; (b) there are no unwritten agreements between me and
the United States Attorney’s Office; and (c) no official of the United States has made any unwritten
promises or representations to me, in connection with my change of plea. In addition, I have
received no prior offers to resolve this case. I understand the crimes to which I have agreed to
plead guilty, the maximum penalties for those offenses, and the Sentencing Guideline penalties
potentially applicable to them. I am satisfied with the legal representation provided to me by my
attorney. We have had sufficient time to meet and discuss my case. We have discussed the charges
against me, possible defenses I might have, the terms of this Plea Agreement and whether I should
go to trial. I am entering into this Plea Agreement freely, voluntarily, and knowingly because I
am guilty of the offenses to which I am pleading guilty, and I believe this Plea Agreement is in my
best interest. 4

   

 

LLL Eu lle’ Zz
RICHARD POILLUCCI
Defendant
Date: 7 - as Boe

 

I certify that Richard Poillucci has read this Plea Agreement and that we have discussed its
meaning. I believe he understands the Plea Agreement and is entering into the Plea Agreement
freely, voluntarily, and knowingly. I also certify that the U.S. Attorney has not extended any other

offers regarding a change of plea in this case.
DLP Alor

MARTIN G. WEINBERG, Esq.
Attorney for Defendant

Date: we © 6° \F

 
